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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
______________________________________
                                       )
NEW BEGINNING REALTY GROUP, LLC, )
                                       )
                  Plaintiff,           )   No. 18-cv-01760C
                                       )
            v.                         )   Filed: February 12, 2021
                                       )
THE UNITED STATES,                     )
                                       )
                  Defendant.           )
______________________________________ )

                                               ORDER

        On February 5, 2021, pursuant to the Court’s order dated January 22, 2021 (ECF No. 40),

the parties submitted a Joint Status Report to inform the Court of the status of settlement

discussions and to discuss further proceedings in the case. ECF No. 41. The parties report that

they entered into a settlement agreement and “anticipate that the terms of the agreement will be

satisfied within the next 60 days.” Id. The Court ORDERS the parties to submit a Joint Status

Report by no later than April 20, 2021 to update the Court regarding the progress of the

settlement, unless a joint stipulation of dismissal is filed before that date.


        SO ORDERED.


Dated: February 12, 2021                                      /s/ Kathryn C. Davis
                                                        KATHRYN C. DAVIS
                                                        Judge
